     Case 2:06-cr-02121-RHW    ECF No. 230   filed 10/02/06   PageID.516 Page 1 of 2




 1
                              UNITED STATES DISTRICT COURT
 2
                           EASTERN DISTRICT OF WASHINGTON
 3
 4    UNITED STATES OF AMERICA,        )
                                       )
 5                      Plaintiff,     )            NO. CR-06-2121-RHW-1
                                       )
 6         v.                          )            ORDER GRANTING DEFENDANT’S
                                       )            MOTION TO MODIFY CONDITIONS
 7                                     )            OF RELEASE
                                       )            (Ct. Rec. 221)
 8    PEDRO SILVA CHIPREZ,             )
                                       )
 9                      Defendant.     )
      _________________________________)
10
11            On October 2, 2006, this court held a bail review hearing.
12    Shawn Anderson, Esq., appeared for the government.                Defendant was
13    present with CJA counsel Todd Harms, Esq.               Interpreter Kenneth
14    Barger was also present.
15            The Defendant moved to reduce bail to $50,000 stating that
16    defendant is unable to secure the $90,000 corporate security bond
17    previously ordered.       The defendant informed the Court that he has
18    diabetes and needs to receive kidney dialysis three times per
19    week.
20            The government did not object to a reduction of the
21    defendant’s bail.
22            The Court granted defendant’s motion to modify conditions of
23    release.     (Ct. Rec. 221)
24            IT IS ORDERED:
25            1.   That defendant’s bail is reduced to a $50,000 corporate
26    surety bond.
27            2.   That defendant shall sign a medical release to allow
28    U.S. Probation access to his medical records.

      ORDER GRANTING DEFENDANT’S MOTION
       TO MODIFY CONDITIONS OF RELEASE - 1
     Case 2:06-cr-02121-RHW   ECF No. 230   filed 10/02/06   PageID.517 Page 2 of 2




           3.    All previous conditions imposed in this Court’s Order
 1
      Setting Conditions of Release dated July 25, 2006, shall remain in
 2
      full force and effect.
 3
           DATED this 2nd day of October, 2006.
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 5
                                                     s/Michael W. Leavitt
 6                                              United States Magistrate Judge
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      ORDER GRANTING DEFENDANT’S MOTION
       TO MODIFY CONDITIONS OF RELEASE - 2
